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       1                        UNITED STATES DISTRICT COURT

       2            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

       3        HONORABLE VIRGINIA A. PHILLIPS, U.S. CHIEF DISTRICT JUDGE

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       5    BMG RIGHTS MANAGEMENT US, LLC,         )
                                                   )
       6                       Plaintiff,          )
                                                   )
       7         vs.                               )              Case No.
                                                   )        CV 18-3723 VAP (JEMx)
       8    GLOBAL EAGLE ENTERTAINMENT, INC.,      )
            et al.,                                )
       9                                           )
                               Defendants.         )
      10    _______________________________________)

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      12                    REPORTER'S TRANSCRIPT OF PROCEEDINGS
                                      MOTIONS HEARING
      13                           MONDAY, AUGUST 5, 2019
                                         2:27 P.M.
      14                          LOS ANGELES, CALIFORNIA

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       1                      MONDAY, AUGUST 5, 2019; 2:27 P.M.

       2                           LOS ANGELES, CALIFORNIA

       3                                      -oOo-

       4                  THE COURTROOM DEPUTY:       Calling Item No. 8 on the

       5    Court's calendar, LA Civil 18-3723 VAP, BMG Rights Management

       6    U.S., LLC, vs. Global Eagle Entertainment, Inc., et al.

       7                  Counsel, would you please come forward and state

       8    your appearances for the record.

       9                  MS. LEIDEN:   Good afternoon, Your Honor.

      10    Diana Leiden from Winston and Strawn on behalf of defendants.

      11    And with me is my colleague also from Winston and Strawn,

      12    Deven Klee.

      13                  THE COURT:    Thank you.

      14                  MS. GREENE:   Good afternoon, Your Honor.

      15    Lauren Greene from Gerard Fox Law on behalf of plaintiff BMG.

      16                  THE COURT:    Thank you.

      17                  MR. OKADIGBO:   And Chaka Okadigbo, also from

      18    Gerard Fox Law on behalf of BMG.

      19                  THE COURT:    I'm sorry, Counsel, could you -- I don't

      20    see your name on the pleading.        So could you spell it for me?

      21                  MR. OKADIGBO:   Sure.    My first name is spelled

      22    C-h-a-k-a.    My last name is spelled O-k-a-d, as in David, i-g,

      23    as in glue, b, as in boy, o.

      24                  THE COURT:    Oh.   All right.   Thank you very much.

      25                  All right.    There are three matters on the calendar.




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       1    There's the defendants' motion for partial summary judgment and

       2    then the plaintiff's motions as to the schedule -- to amend the

       3    Complaint and to extend the dates set forth in the Court's

       4    scheduling order.

       5                 Ms. Leiden, do you want to -- is it Leiden or

       6    Leiden?

       7                 MS. LEIDEN:   It's Leiden.

       8                 THE COURT:    Leiden.   I'm sorry.   Do you want to

       9    argue your motion first?

      10                 MS. LEIDEN:   Yes, Your Honor.     Thank you very much.

      11                 And I have taken a look at the Court's tentative

      12    order on defendants' motion for partial summary judgment.          And

      13    just a few points I wanted to make in response to the

      14    tentative.

      15                 One point I just would like to make is that

      16    defendants' position that the question as to whether the

      17    plaintiff had either actual or constructive knowledge of the

      18    potential claims should be based on looking at the totality of

      19    the facts that defendants have presented rather than looking at

      20    them piecemeal.

      21                 And here, as the Court noted, we did present

      22    evidence of public lawsuits that were filed and the attendant

      23    publicity that came with those lawsuits, as well as just the

      24    general fact that defendants' provision of audio content to

      25    major air carriers like United and American Airlines was open




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       1    and notorious.

       2                 And while it's true, as the Court pointed out on

       3    page 9 of the tentative, that we didn't cite cases specifically

       4    where it's -- a small number of online articles would be enough

       5    to warrant an investigation, defendants did cite cases

       6    involving other types of public statements, including the

       7    Napster case where there were public statements made by Napster

       8    about -- essentially that their platform infringed copyright,

       9    as well as the Chivalry-NBC Universal case where it was the

      10    release -- the wide release of a movie that put the plaintiff

      11    on notice.

      12                 THE COURT:    Don't you think those are -- excuse

      13    me -- really distinguishable facts from what -- what you cited

      14    in this case?

      15                 MS. LEIDEN:   I think they're not exactly the same,

      16    but I think that they are instructive here, specifically the

      17    Napster case, because there the plaintiff -- one of the facts

      18    that the Court took note of was that the plaintiff was an

      19    owner, I believe, in that case of thousands of copyrights,

      20    something like that.

      21                 And just the fact that there had been some public

      22    statements -- the Court didn't specify where exactly the public

      23    statements were made but presumably it was in the press -- put

      24    the plaintiff there on notice of potential claims even though

      25    the --




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       1                THE COURT:    Excuse me.

       2                MS. LEIDEN:    -- the plaintiff didn't specifically

       3    know which of its thousands of works here had -- or that had

       4    been infringed.    So I think that case is particularly

       5    instructive because, here, BMG says that they own something

       6    over 2.5 million rights to sound recordings and musical

       7    compositions.

       8                And so the evidence that the defendants have put

       9    together involving the public statements in the press and just

      10    the public nature of the lawsuits and specifically the press

      11    that BMG's general counsel testified that he did review, as

      12    part of his industry, in The Hollywood Reporter and Billboard.

      13                And so I think even though the facts aren't exactly

      14    the same as in the cases that we cited in terms of online

      15    articles, I think that the principles would hold.

      16                THE COURT:    All right.    Thank you.

      17                Do you wish to respond?

      18                MS. GREENE:    Only briefly, Your Honor.

      19                I think you distinguish the cases in the tentative.

      20    I would just like to -- just note the distinction from the

      21    Napster case.

      22                You know, the Court in that case, they relied on the

      23    fact that the plaintiff there could have with a simple

      24    investigation into Napster determined that its works were being

      25    used.   All the plaintiff had to do was get a computer, go on




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       1    the Internet, look at Napster.

       2                Here, that's not something that the plaintiff would

       3    have been able to do.     They would have -- been having to go on

       4    a number of different airplanes to potentially hear one of

       5    their works, and then that person would have to know that this

       6    work was in the BMG's catalog.      That person would have to know

       7    that this work isn't licensed by this airline or this work

       8    isn't licensed by the company who's providing the music for

       9    this airline.    I think it's just too attenuated of a connection

      10    that they're trying to argue here, and I think that really

      11    distinguishes the Napster case.

      12                THE COURT:    All right.    Were there other points that

      13    you wish to make?

      14                MS. LEIDEN:    Sure.    Just really briefly, Your Honor.

      15    The Court's note about the UMG case in which Judge Wu rejected

      16    the argument there that the open --

      17                THE COURT:    Travel.

      18                MS. LEIDEN:    -- and notorious nature of the business

      19    was sufficient.    Again, and just a related point there that --

      20    again, looking at the totality of the circumstances, even

      21    accepting Judge Wu's analysis that the open and notorious

      22    nature wouldn't itself put the plaintiff on notice, it's the --

      23    here, we have not just that factor but also the others that

      24    we've already discussed, as well as obviously in the UMG case,

      25    the UMG case itself was not one of the -- one of the facts.




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       1    And that's one of the differences here.

       2                THE COURT:    All right.    And now, Ms. Greene, do you

       3    wish to argue your motions?

       4                MS. GREENE:    I would briefly, Your Honor.       And I

       5    note that the tentative really focused in on the element of

       6    BMG's diligence.    So I would like to address BMG's diligence,

       7    first, with regards to the motion to continue.

       8                THE COURT:    All right.

       9                MS. GREENE:    First, Your Honor, I think we broke out

      10    the diligence in a couple of different categories.         Diligence

      11    regarding putting forth the chain of title documentation from

      12    the playlist that plaintiff received from defendants and then,

      13    second, diligence with the obtaining certain financial

      14    documents that BMG needed in order to put forth this expert

      15    report.

      16                First, as for the playlist, Your Honor, yes, we did

      17    receive about 300 or so playlists on March 25th.         And BMG

      18    worked extremely diligently to identify its works on that

      19    playlist and to do the time-consuming process of tracking each

      20    of those works through BMG's chain of title documents.

      21                And as soon as we realized that, you know, this

      22    might take some time because these playlists were in wildly

      23    different formats that made it incredibly difficult for BMG's

      24    systems to match what was in the playlist versus what was on

      25    the system and then to match what was on the system to the




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       1    documents.

       2                 And so in --

       3                 THE COURT:    Well, defense counsel in the opposition

       4    to the motion on that particular issue asserted that the

       5    documents -- or the production was made in that format because

       6    Magistrate Judge McDermott had ordered that the documents from

       7    the prior litigation be disclosed in that format, number one.

       8                 And, number two, that your side did not ask -- or

       9    did not ask for it to be submitted in any other form.

      10                 MS. GREENE:    And --

      11                 THE COURT:    Do you want to address that?

      12                 MS. GREENE:    Your Honor, I would address -- we're

      13    not necessarily faulting defendants for the fact that the

      14    playlists were in wildly different formats.        We're simply

      15    noting that that is a reason of not -- the main reason why

      16    matching chain of title documents took so long.         We're

      17    certainly not saying that they purposely put everything in

      18    different formats to make it hard for us.        But it actually was

      19    hard for us because it was in all of those different formats.

      20                 And once we realized, you know, we're running up on

      21    a little bit of a time crunch in April -- so we received the

      22    playlists on March 25th.     And then counsel had mentioned April,

      23    that's when we started asking for a continuance.         And then

      24    we -- we sought that leave ex parte.       The ex parte was denied

      25    in June, June 7th.     And at that time, we were finishing up




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     1   discovery, conducting depositions, briefing our motion for

     2   summary judgment, opposing their motion for summary judgment,

     3   putting together our reply papers for our motion for summary

     4   judgment.

     5               The week after we had finished all of that is when

     6   we filed the motion to continue.       I believe BMG and its counsel

     7   was acting as diligently as it could in bringing this motion in

     8   light of all of the other filings that BMG wanted to make sure

     9   we got done on time and in light of just the difficulty it was

    10   for BMG to put together that chain of title documents.

    11               As I had mentioned in the briefs, we had folks from

    12   four of their offices across the world really doing their best

    13   to put it all together.     And it just took time, Your Honor.

    14   And that's -- you know, I think we were being diligent.          It's

    15   just something that took time.

    16               THE COURT:    Ms. Leiden, do you wish to respond?

    17               MS. LEIDEN:    Yes, thank you.

    18               Just, first of all, BMG, this is not their first

    19   copyright lawsuit.     They've been a copyright plaintiff before.

    20   It seems like they should reasonably have known that it would

    21   take them some period of time to trace ownership and chain of

    22   title of their works based on that.

    23               But separate and aside from that, I think the facts

    24   and the timeline just speak for themselves here in that BMG

    25   knew, at least in late March, early April, when it was first




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     1   conducting the analysis of chain of title, that it was going to

     2   take them a substantially long period of time.         And it was just

     3   kind of dribs and drabs and here and there, that they were

     4   requesting extensions, that defendants did agree to certain

     5   extensions.    And --

     6                 THE COURT:    Well, extensions as to expert discovery.

     7                 MS. LEIDEN:   Yes.   Yes, Your Honor.

     8                 And the defendants did -- did not want to and still

     9   do not want to extend the entire case schedule.         We just never

    10   saw good cause for it.      And the only good cause that had been

    11   presented at that point was how long the chain of title was

    12   taking, and that was back in April.

    13                 And you know, respectfully, defendants' position is

    14   that just the plaintiff having to do other work under a

    15   scheduling order that they agreed to is not sufficient basis to

    16   delay that long in seeking a noticed motion here.         And that

    17   same fact also shows that it is incredibly prejudicial to the

    18   defendants if the case schedule was extended, given that, you

    19   know, we did have to spend the time on summary judgment and in

    20   the last month pretrial documents and submissions that, you

    21   know, we'll never get back.

    22                 THE COURT:    The trial date in this case is set for

    23   September 17th?

    24                 MS. GREENE:   Yes, Your Honor.

    25                 MS. LEIDEN:   Yes.




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     1                 THE COURT:    17th?

     2                 And I think you mentioned this in the briefing.         But

     3   the plaintiff's summary judgment -- or summary adjudication

     4   motion is now set for hearing on the 26th.

     5                 MS. GREENE:   Yes, Your Honor.

     6                 THE COURT:    So obviously you're going to have to

     7   file your memorandum of contentions and so forth before --

     8   well, before you know what the ruling is on the summary

     9   judgment.

    10                 MR. OKADIGBO:   Today.

    11                 MS. GREENE:   Yes, Your Honor.      They are due today,

    12   Your Honor.

    13                 THE COURT:    Let me change -- excuse me.    Let me

    14   change tacks for a moment.

    15                 Have the parties had a settlement conference?

    16                 MS. GREENE:   We did on February 28th, Your Honor.

    17                 THE COURT:    Oh.   That's right.   You had a mediation,

    18   but you said it wasn't productive.

    19                 Would it be productive -- are you thinking of going

    20   back to that mediator or engaging in some other round of

    21   mediation?

    22                 MS. LEIDEN:   We haven't discussed specifically -- at

    23   least recently going back to private mediation or to -- I

    24   believe it was Joel Grossman.       Defendants are, you know,

    25   willing to explore settlement as we have been, but we haven't




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     1   specifically discussed going back to private mediation.

     2                 THE COURT:   What I'm thinking is I might ask one of

     3   my colleagues, Judge Otero, if he's willing to conduct a

     4   settlement conference for you.      I don't -- yeah, he recently

     5   took senior status, and he's been very helpful, but I can't

     6   guarantee that he would have time to do it.

     7                 If he does, would that be -- I'm just trying to

     8   think when would be the best -- probably after your motion is

     9   heard.   Although, that's pretty late in the game too.

    10                 Let me -- since we're pretty close to your trial

    11   date, let me see what the calendar looks like for that date.

    12                 I have five cases set for trial that day, and yours

    13   is the -- yours is No. 5.

    14                 I think of the five cases, I think one of them is

    15   definitely going to go.     It's a criminal case.      And I have -- I

    16   will be very surprised if that one doesn't go to trial.          So the

    17   likelihood is -- of the others that are set for that day, there

    18   are two other criminal cases, but I think one of them is going

    19   to resolve.    And there's another civil case.

    20                 So, you know, the likelihood is that you won't go to

    21   trial on the 17th, but it's quite likely that you would go the

    22   following week.    I think that -- the criminal case that's going

    23   to start on the 17th, I think -- I don't see that one

    24   resolving.    It's -- I don't think it will take much more than

    25   about four days to try it.      So it could be that you trail just




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     1   one week to the 24th.

     2               But I -- if the parties want to have a little more

     3   certainty and you wanted to enter into a stipulation to

     4   continue the trial date a week or two -- let's see.         On the 1st

     5   I have -- I've only got two cases set on the 1st.         So I just

     6   throw that out there.     You can give it some thought.

     7               It's unlikely -- it's not impossible, but it's

     8   unlikely that you would really start on the 17th, given the

     9   criminal case that I'm sure is going to go.        Like I said, I

    10   have five cases set that day, but I think at least one of the

    11   others is a criminal case, which I think is about to be

    12   resolved.   But just so you know.      I can't tell you that you

    13   won't start on the 17th, but I would say it's unlikely.          So you

    14   can file that away.

    15               MS. LEIDEN:    And just from defendants' perspective,

    16   I think our main concern is that -- and it sounds like this

    17   would not be what would happen -- but that there wouldn't be

    18   any sort of extension of discovery or any other pretrial

    19   deadlines associated, it would just purely be -- it sounds like

    20   perhaps time to have a settlement conference, if we so

    21   stipulated between August 26th and --

    22               THE COURT:    And I may just -- if Judge Otero is

    23   available, I may just order the parties to participate in a

    24   settlement conference even before the 17th.

    25               MS. LEIDEN:    And defendants are happy to consult




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     1   with the client.    I'll also check the scheduling of

     2   Michael Elkins who's our lead trial counsel and make sure.            But

     3   that would, I think -- obviously, our main concern is that, you

     4   know, we're just going to keep moving forward with the pretrial

     5   and that, so --

     6               THE COURT:    All right.    Anything further from either

     7   side?

     8               MS. LEIDEN:    No.   Not from defendants.

     9               THE COURT:    Ms. Greene?

    10               MS. GREENE:    I don't believe so, Your Honor.       Seems

    11   like we're --

    12               THE COURT:    All right.    I'm going to take the

    13   motions under submission.

    14               You can return your copies of the tentative ruling

    15   to the clerk.

    16               Thank you very much.

    17               MS. LEIDEN:    Thank you, Your Honor.

    18               THE COURTROOM DEPUTY:      This concludes the Court's

    19   calendar.   This court is now adjourned.

    20               (Proceedings concluded at 2:45 p.m.)

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     1                     CERTIFICATE OF OFFICIAL REPORTER

     2

     3   COUNTY OF LOS ANGELES      )
                                    )
     4   STATE OF CALIFORNIA        )

     5

     6               I, MYRA L. PONCE, FEDERAL OFFICIAL REALTIME COURT

     7   REPORTER, IN AND FOR THE UNITED STATES DISTRICT COURT FOR THE

     8   CENTRAL DISTRICT OF CALIFORNIA, DO HEREBY CERTIFY THAT PURSUANT

     9   TO SECTION 753, TITLE 28, UNITED STATES CODE THAT THE FOREGOING

    10   IS A TRUE AND CORRECT TRANSCRIPT OF THE STENOGRAPHICALLY

    11   REPORTED PROCEEDINGS HELD IN THE ABOVE-ENTITLED MATTER AND THAT

    12   THE TRANSCRIPT PAGE FORMAT IS IN CONFORMANCE WITH THE

    13   REGULATIONS OF THE JUDICIAL CONFERENCE OF THE UNITED STATES.

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    17                           DATED THIS 5TH DAY OF SEPTEMBER, 2019.

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    20                                      /S/ MYRA L. PONCE

    21                           MYRA L. PONCE, CSR NO. 11544, CRR, RDR
                                    FEDERAL OFFICIAL COURT REPORTER
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